Case 1:18-cv-OOlOl-.].]I\/|-LDA Document 1-2 Filed 03/01/18 Page 1 of 8 Page|D #: 32

EXHIBIT B

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NOTICE OF INTE NTION TO FORECLOSE

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`Case 1:18-c\/-OOlOl-.J.J|\/|-LDA Document 1-2 Filed 03/01/18 Page 3 of 8 Page|D #: 34

MQBTGAGEE`S NOTICE OF SAI E GF REAL ESTATE

193 SOWAMS ROAD,, `B ARRINGTON. RI 028(3(\

'H\c pmnnscs descnb¢:d m thc; c_)r{gagc will be sold subject to all cncnmbranccs and prior liens on diarch
5. 2018 at 10:00 AM on the pmmxses, by vixtuc of the power of sale contained m a mortgage b\»' C§zris\ophcr B
Fen\emal dated Sey{€nlber I(*, 2004 and recorded in the Bam`ngton Lzmd E\ idencc }{c§;or<i.s in Bm)k 869
Pagc» 242,!1&3 conditions of said mortgage having been bmkcn.

 

A deposit ofPIVE THOUSAND DO}.{!.(,»’\RS .~\Ni} 00 (.`.
bankl!%a$lm:r"$ dich or 11'\011&:.§. order mll be wqu`ncd \0 be d\:\i\~cm:d ul mr before \\\Q umc \\\c bid `1','
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NOTICE TO SERVICE MEMBERS

 

A s ` '
cea:;;tcs:m:r;\ber on §ct\ve duty or deplovmgnt or who h§\_s recently
c uty_ or deployment has certain rights under subsection 34-

zi'l~:tlglfof the Rhode \sland general laws set out below. To g_r_c_)tect vour
g s \ you are such a s.ertrl¢;ememberl you should give written not`\ce to

the ser\ncer of the obligation or the attorney conduct`\rgthe foreclosur
prior to the sale. that you are a serv'\cemer;\l>:r cm active dutv el
degloyment or who has recently ceased such duty or degloy_r;\;r_\-t T:`\rs
not\ce may be glven on your behalf by your authorized representative \§
WL§Mthls notice, von should consult w‘\x\\.an

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(ii) ‘ Aotive duty” has;jthe,'samé meanth as_~théfte,` l its defined in 10 U.S,C.
inactions lZZOl»through 12304, In the case of a`member of`the national
guard, or reserves “active duty” means and includes service under a call to
active service authorized by the president or the secretary of defense for a
period of time of more than thirty (30) consecutive days under 32 U.S.C.
section 502(?;, for the purposes of responding to a national emergency
declared by the president and supported by lederal funds
(?.) Th`ts subsection applies only to an obligatlon on real and related personal property
owned by a scrvlcemcm‘oer that
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the case nl` a member of \l\e t\atltmnl guard or renew cs or`\§;`\r\aretl before
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oeodm s and';adjusnnent ofobliga on@~{ ,: the event a'xnort:g_agee
_é`c`is_with foreclosure ofth_e property during or within one year"‘ after a
em'cemember'sAperiod,of’active duty_or deployrnent notwithstanding receipt of
_ ti.céx;contemplatéd by"subdivision (d)($) above,‘ the servicemember or his or her

`18911~10101» .

 

 

Case 1:18-cv-OOlOl-.].]I\/|-LDA Document 1-2 Filed 03/01/18 Page 5 of 8 Page|D #: 36

authorized representative may file a petition against the mortgagee seeking a stay
of such foreclo$ure, after a hearing on such petition` and on ics own motion, the
conn may:
(v) Sta'_v the proceedings for a period of time asjustice and equity rcquirc;or
(`vi))ldjust the obligation as permitted by federal law to preserve the interests
ofall parties
(_5) .Sale or foreclosure ~ A sa.le, foreclosure or seizure of property for a breach of an
obligation oi"a servicemembcr Who is entitled to the benefits under subsection (d) """""""
and who provided the mortgagee with written notice permitted under subdivision """'
(f`rx`)(.`? ) shall not he valid if made during, or within one year* alien the period of _”'
the service-members military service except
(`vii`) Lf’pon a court order gramed before such salc, foreclosure or seizure after
hearing on a petition filed by the mortgagee against such servicch emher;
or

conducted gin an expedited basis following such notice and/or di scoverv as the
court deems groger.

[*zls of Februarv 2` 2013. Seciion 710 offier i()`27 (2()12} amended the protections of
rhc S("RA {"roi_n"`_® monrhs" to "onr-: year" following the end of active dury}

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NOTICE`. OF AVAILABILITY OF MORTGAGE COUNSEL!NG SERVICES

Housing counseling services arc available to you at no cost Co\mseling services that can help you understand
your options and provide re$ource~s and referrals that may assist you in pwventing foreclosure are available from
mongagc counseling agencies approved by the United Statcs Deparmwnt of Housing and Urban Dcvclopmcnt
(Hl.§[)). ‘Y'ou can locate a HUD-approvcd mortgage counseling agency by calling HUD"§ toll-free telephone
muniszl 1~8(10»569~4287, or by accesslng HUD’s lntcmm homcpagc at \ngw‘hud,gov. The TDD number is 1-8(30~
8?7~8339. You can also directly comact one of the Rhode lsland HUDgappm\*ed counseling agencies listed below
Fon-:closun: prevention counseling services amc available free rofroharge thmugh HUI)’s Houslng Co\mseh`ng
ngmm, . ` '?'

HUD Approved l'lousing Counseiing Agencies in Rhod`e lsland as of I!./BSJZGI(I

 

 
 
 
 
  
 

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